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                                                  UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                                   CASE NO.: 21-61176-CIV-SINGHAL

  SECURITIES AND EXCHANGE COMMISSION,

               Plaintiff,
  v.

  PROPERTY INCOME INVESTORS, LLC,
  EQUINOX HOLDINGS, INC.,
  PROPERTY INCOME INVESTORS 26, LLC,
  PROPERTY INCOME INVESTORS 304, LLC,
  PROPERTY INCOME INVESTORS 201, LLC,
  PROPERTY INCOME INVESTORS 3504, LLC,
  PROPERTY INCOME INVESTORS 1361, LLC,
  PROPERTY INCOME INVESTORS 4020, LLC,
  PROPERTY INCOME INVESTORS 9007, LLC,
  PROPERTY INCOME INVESTORS 417, LLC,
  PROPERTY INCOME INVESTORS 4450, LLC,
  PROPERTY INCOME INVESTORS 3050, LLC,
  LARRY B. BRODMAN and ANTHONY
  NICOLOSI (f/k/a ANTHONY PELUSO),

        Defendants.
  _________________________________________/

                               RECEIVER’S FIFTH INTERIM QUARTERLY REPORT

                                               (Period Covered: April 1, 2022 – June 30, 2022)

               Miranda L. Soto, Esq., solely in her capacity as Receiver (the “Receiver”) for Defendants,

  Property Income Investors, LLC; Equinox Holdings, Inc.; Property Income Investors 26, LLC;

  Property Income Investors 304, LLC; Property Income Investors 201, LLC; Property Income

  Investors 3504, LLC; Property Income Investors 1361, LLC; Property Income Investors 4020,

  LLC; Property Income Investors 9007, LLC; Property Income Investors 417, LLC; Property

  Income Investors 4450, LLC; and Property Income Investors 3050, LLC (collectively, the

  “Receivership Entities”), and pursuant to the Order Granting Plaintiff Securities and Exchange




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  Commission’s (the “Commission”) Motion for Appointing Receiver, dated June 15, 2021 (Doc.

  10), respectfully files her Fifth Interim Report.




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  I.            INTRODUCTION

                Miranda L. Soto, Esq., solely in her capacity as Receiver (the “Receiver”) for Receivership

  Entities Property Income Investors, LLC (“PII”); Equinox Holdings, Inc. (“Equinox”); Property

  Income Investors 26, LLC; Property Income Investors 304, LLC; Property Income Investors 201,

  LLC; Property Income Investors 3504, LLC; Property Income Investors 1361, LLC; Property

  Income Investors 4020, LLC; Property Income Investors 9007, LLC; Property Income Investors

  417, LLC; Property Income Investors 4450, LLC; and Property Income Investors 3050, LLC,

  hereby files this Fifth Interim Report to inform the Court, investors, and interested parties of the

  significant activities undertaken from April 1, 2022 to June 30, 2022, as well as proposed courses

  of action moving forward. In addition to providing notice of the receivership to all known

  investors shortly after her appointment, the Receiver has established an informational website at

  www.propertyiireceivership.com, which is regularly updated with important court filings

  (including all Interim Reports), announcements, and other news that might be of interest to affected

  individuals and third-party entities.

                A.          Overview of Significant Activities During This Reporting Period

                During the time period covered by this Interim Report (April 1, 2022 through June 30,

  2022), the Receiver and her counsel have engaged in significant activities including but not limited

  to:

         •      Worked with Local Real Estate Co. to market, list, and close on the final two remaining
                Properties (3050 Coral Springs Drive, Coral Springs, FL 33605) and (201 East 30th Street
                Riviera Beach, FL, 33404), which resulted in contracts that closed on April 1, 2022 and
                May 13, 2022, respectively. During the reporting period, these two Properties brought in
                net proceeds of $2,128,307.11. Prior to sale of these Properties:

                      o Continued to work with Keyes Property Management, LLC to maintain and secure
                        the above-referenced Properties pending sale, including the collection of rent from
                        tenants and attending to maintenance and upkeep for the Properties until the
                        closings of all Properties; and

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                  o Favorably resolved a fine on the 3050 Property, previously imposed by a local
                    government due to violations incurred prior to the Receivership, which resulted in
                    a discount of approximately 90% of the assessed fine;

     •      Performed final tasks finalizing the closure of various administrative accounts for the
            Properties that closed during prior two reporting periods, which included the following
            Properties: (i) 1361 SE 4th Street, Deerfield Beach, 33441, (ii) 530 NE 34th Street, Pompano
            Beach, FL 33064, (iii) 4020 Riverside Drive, Coral Springs, FL 33065, (iv) 4450 Coral
            Springs Drive, Coral Springs, Florida 33065. These properties had previously brought in
            net sales proceeds of $2,002,084.70;

     •      Continued investigation into operation of Receivership Entities, including analysis of
            business operations, investor files and offering documents, and financial activity;

     •      Worked with her forensic accountants to identify, gather, and analyze investor files and
            relevant financial documentation in order to understand operation of Receivership Entities,
            formulating a framework for the Court-approved claims process;

     •      Worked with her forensic accountants to review, analyze, and determine investment
            information and activity for each potential investor claimant, and assembled central
            database to assist with anticipated forthcoming claims process;

     •      Further worked with her forensic accountants to authorize and facilitate the preparation of
            tax returns for the Receiver entities, including the issuance of K1’s to investors. Receiver’s
            forensic accounts anticipate that the returns will be ready for Receiver review in late
            August;

     •      Obtained a Court Order (Doc 77) (‘Claims Process Order”) approving Receiver’s Motion
            to Establish and Approve (i) Proof of Claim Form and Claim Bar Date; (ii) Procedure to
            Administer, Review, and Determine Claims; and (iii) Notice Procedures and Incorporated
            Memorandum of Law (the “Claims Motion”). The Claims Motion and Order are available
            on the Receiver’s website at www.propertyiireceivership.com;

     •      On June 30, 2022, sent 158 investor claims packets, explaining the claims process,
            providing Receiver’s preliminary calculation of each investor’s claim (for investors with
            documentation in the Receivership’s possession), and requesting investors to complete a
            questionnaire (Claims Form) and provide documentation to establish their respective
            claims. A sample of the claims packet is available on the Receiver’s website at
            www.piireceivership.com along with contact information in the event investors have
            questions regarding the process. The preparation of the claims estimates required having
            Receiver’s professionals sort through extensive and often confusing or incomplete
            company documents to reconcile invested sums with any dividends or other payouts
            recorded as having been sent to investors. Receiver’s professionals also had to engage in
            open source research to verify correct mailing addresses for about a half dozen investors
            whose addresses were not accepted by the UPS website for delivery labels, which required
            sending their packages for delivery by United States Post. As required in the Claims
            Process Order, the Receiver also caused notices of the claims process to be published in
                                                    2
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                two newspapers – the Sun Sentinel of Fort Lauderdale, Florida and the Wall Street Journal.
                The Receiver also published announcements on the Receiver’s website;

         •      Continued review of potential claims to recover investor assets wrongfully misappropriated
                and/or fraudulently transferred;

         •      Successfully opposed efforts by certain investors (investors Richard Bentley, Joseph
                Alexander, and P&E Properties, LP) to leapfrog over the Court-mandated claims process
                in a parallel state court action, including filing a Response (Doc. 87) to Motion for
                Clarification (Doc. 84) and obtained an Order denying said Motion (Doc. 96) from this
                Court;

         •      Continued work to ascertain locations of the properties, books, records, bank accounts and
                other assets of the Receivership Entities;

         •      Responded to phone calls and written communications from investors, tenants,
                prospective buyers and other interested parties and/or their representatives and continued
                to update Receiver’s website with case information and document filings;

         •      Communicated with investors regarding the Claims Process; and

         •      Prepared and filed the Receiver’s Fourth Interim Report on May 22, 2022 (Doc. 81) which
                provided a comprehensive summary, analysis, and supporting documentation of the
                Receiver’s preliminary observations, continuing investigation, and contemplated next
                steps;

  The above referenced activities are discussed in more detail in the pertinent sections of this Interim

  Report.

  II.           BACKGROUND

                A.          Procedure and Chronology

                On June 7, 2021, the Commission filed a complaint (Doc. 1) (the “Complaint”) in the

  United States District Court for the Southern District of Florida (the “Court”) against Defendants

  Larry Brodman, Anthony Nicolosi f/k/a Anthony Peluso, and the Receivership Entities. The

  Commission alleged that Defendant Brodman and the Receivership Entities raised at least $9

  million from over 150 investors who were told that their funds would be used almost entirely to

  purchase “turnkey, multifamily properties” in South Florida which would then be renovated,

  rented to tenants, and eventually sold. Id. ¶ 3. Investors were also told that they would be entitled
                                                                                    3
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  to receive a portion of the rental income and any sale proceeds generated from the Properties they

  were investing in.

            Although a portion of investor funds were used to purchase various properties in the South

  Florida area, the Commission alleged that Defendant Brodman and the PII entities misappropriated

  and diverted over $2 million in investor funds, extensively commingled investor funds, and in

  some instances used investor funds to make purported “profit” payments and distributions to other

  investors. (Doc. 10 ¶¶ 4, 70-71.) The Commission also alleged that, despite statements in the

  offering materials that commissions would only be paid to licensed brokers, PII and Brodman used

  at least $1.2 million in investor funds to pay undisclosed sales commissions to unlicensed sales

  agents including Defendant Nicolosi. Id. ¶¶ 68-69.

            On June 15, 2021, the Court granted the Commission’s Motion for Appointment of

  Receiver and entered an Order appointing Miranda L. Soto as the Receiver over the Receivership

  Entities (“Order Appointing Receiver”) (Doc. 10).                                               The Commission and the individual

  Defendants are scheduled to mediate this case on April 5, 2022. (Doc. 47.)

            B.          The Receiver’s Role and Responsibilities

            As an independent agent of the Court, the Receiver’s powers and responsibilities are set

  forth in the Order Appointing Receiver which provides, in relevant part, that the Receiver:

            •     “[S]hall have all powers, authorities, rights and privileges heretofore possessed by the
                  officers, directors, managers and general and limited partners of the Receivership
                  Entities under applicable state and federal law…” and “shall assume and control the
                  operation of the Receivership Entities and shall pursue and preserve all of their claims.”
                  Doc. 10 ¶¶ 4-5;

            •     Shall “take custody, control, and possession of all Receivership Property and records
                  relevant thereto from the Receivership Entities…” and “manage, control, operate and
                  maintain the Receivership Estates and hold in Receiver’s possession, custody and
                  control all Receivership Property, pending further Order of the Court.” Id. ¶ 7(b)-(c);



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             •     Is “authorized, empowered, and directed to investigate the manner in which the
                   financial and business affairs of the Receivership Entities were conducted and (after
                   obtaining leave of this Court) to institute such actions and legal proceedings…as the
                   Receiver deems necessary and appropriate…” Id. ¶ 37; and

             •     Is directed to “develop a plan for the fair, reasonable, and efficient recovery and
                   liquidation of all remaining, recovered, and recoverable Receivership Property…and
                   to “file and serve a full report and accounting of each Receivership Estate” for each
                   calendar quarter. Id. ¶¶ 46, 48.

  III.       THE RECEIVER’S PROGRESS AND PRELIMINARY FINDINGS DURING THE
             RELEVANT PERIOD

             The Receiver’s issuance of interim quarterly reports is intended to, among other things,

  present a detailed summary of actions taken by the Receiver during the reporting period as well as

  to share the status of her various preliminary findings and ongoing investigation.                                                                      Unless

  specifically indicated herein, any previously-expressed preliminary findings are incorporated

  herein and remain consistent with the Receiver’s ongoing investigation. The Receiver reserves

  the right to revise, amend, and/or supplement these conclusions as the investigation progresses.

  The Receiver presents the following non-exclusive conclusions that she continues to supplement

  based on her ongoing investigation and document review and with the assistance of her Retained

  Professionals.

             A.          Actions Taken By the Receiver During Reporting Period

                         i.           Securing Receivership Estate Personal Property

                                      a.           Bank Accounts and Cash Proceeds

             As reported in detail in previous Reports, the Receiver proceeded to open fiduciary bank

  accounts at ServisFirst Bank (the “ServisFirst Accounts”) following her appointment and

  coordinated the freeze and closure of the Receivership Entities’ existing bank accounts with JP

  Morgan Chase Bank, N.A. (“Chase Bank”). The Receiver also took action to secure approximately

  $1.125 million consisting of proceeds from the recent sale of two properties formerly owned by

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   the Receivership Entities that were being held in escrow by a Boca Raton law firm. After securing

   those funds, the Receiver then transferred those funds to the ServisFirst Accounts. During the

   reporting period, the primary activity that occurred was (i) the deposit of net sale proceeds from

   the closing of the sale of the two Properties referenced above, including associated post-closing

   refunds and holdbacks; (ii) the deposit of monthly rental income received from the Receiver’s

   property management firm; and (iii) the payment of Court-approved fees and costs to the Receiver

   and her Retained Professionals.

                As of the date of the filing of this Report, the total balance of the ServisFirst Accounts was

   $4,803,322.77. 1

                                         b.           Other Personal Property

                After taking possession of various computers and paper files kept in a storage unit

   previously used by the Receivership Entities, the Receiver has disposed of the remaining contents

   and vacated the storage unit to avoid continuing monthly costs of over $300. The Receiver

   continues to maintain and store the various company documents and computer hardware that were

   previously removed from the storage unit. During the Reporting Period, the Receiver donated four

   flat-screen televisions and received the receipts to claim such donation as deductions on entity tax

   returns, if applicable.

                            ii.          Securing and Maintaining Receivership Real Property

                                         a.           Managing and Maintaining Real Property Assets

                At the time of the Receiver’s appointment, the Receivership Entities owned seven

   multifamily residential properties in the South Florida area. Further details on each of these




   11
     The Receiver is in the process of wiring the remaining funds from her firm trust account to service in the amount of
   $360,013.90. Once wired, the total amount in the Servis accounts will be $5,163,336.67.
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   properties, including purchase and property information, is set forth in Section V.F of the First

   Interim Report (Doc. 20) and incorporated herein. The Receiver’s immediate priority at that time

   was to secure the Properties, ensure that tenants were aware of her appointment and their

   continuing obligation to pay monthly rent, and investigate the condition of the Properties and

   whether there were any existing encumbrances. The Receiver subsequently interviewed several

   property management companies and ultimately received Court approval to retain Keyes Property

   Management (“Keyes”) on July 1, 2021 (Doc. 15). Keyes immediately began outreach to current

   tenants, inspection of the Properties, and implemented its proposed property management services.

   The Receiver also provided all of the tenants with correspondence notifying them of Keyes’

   retention and has been pleased with Keyes’ diligence and service thus far.

             As discussed in previous Reports, the Properties visually appeared to be in good condition

   but it has become apparent that the Receivership Entities were behind in attending to maintenance

   issues in the months preceding the Receiver’s appointment. Since the Receiver’s appointment,

   tenants have submitted nearly 100 work orders through a tenant communication portal established

   by Keyes, ranging from minor maintenance issues to more serious issues, including the

   replacement of appliances and an air conditioning system as well as a roof leak repair. The

   Receiver and Keyes have also learned of a number of existing code compliance issues which have

   required (sometimes significant) attention and the expenditure of funds, including payment of

   fines, to remedy any deficiencies. Until all properties were sold, the Receiver was in constant

   contact with Keyes to ensure any issues are promptly and efficiently addressed.

             These maintenance requests have reduced the net rental income generated by the Properties

   which is ultimately deposited into the Receivership Estate. The following chart depicts the

   approximate repair costs and utility expenses (which does not include Keyes’ 6.5% management

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   fee) for all the Properties during the past several reporting periods, as well as the total amount of

   rental income collected during those periods:

               Time Period                           Approximate Repair/Utility Expenses                                         Total Rental Income

               7/1/21 – 9/30/21                                               $20,000.00                                                      $73,000.00

               10/1/21 – 12/31/21                                             $30,000.00                                                      $80,000.00

               1/1/22 – 3/31/22                                               $24,721.00                                                      $45,330.00

               4/1/22 – 6/30/22                                               $1,401.62                                                       $3,803.00

               Prior to closing on all Properties, the Receiver worked with Keyes to understand and

   investigate each tenant’s relationship, including previous rent history, lease status, and other

   obligations. Based on Keyes’ analysis, it appears that (i) nearly all of the leases had expired and

   were continuing on a month-to-month basis, and (ii) nearly all of the tenants were paying monthly

   rent that was below market – and in many instances significantly below market. Although the

   Receiver considered attempting to raise the rents to bring them closer to the market rates for the

   respective locales, the Receiver consulted with her professionals and ultimately determined to keep

   the rents as-is given a number of factors, such as (i) tenants could refuse to agree to the new

   increases but refuse to vacate the units, thus resulting in lost rent and possibly necessitating

   eviction proceedings; (ii) tenants could refuse to agree to the new increases and vacate the units,

   thus resulting in vacancies and lost rent while a new tenant was located (which would have also

   resulted in payment of a commission to Keyes amounting to the first month’s rent); and (iii)

   because the Properties were also listed for sale, tenants on month-to-month leases would be seen

   as more desirable by potential buyers. 2


   2
     Certain tenants were either receiving housing assistance or had begun the process of seeking
   housing assistance. As part of the requirements for receiving housing assistance, the tenant was
   required to be on a new one-year lease. Where necessary, in order to continue receiving that
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               The Receiver’s investigation also showed that, prior to her appointment, tenant security

   deposits do not appear to have been properly handled and/or segregated. Specifically, records

   reviewed by the Receiver showed that the Receivership Entities had collected approximately

   $23,000 in security deposits on the Properties; yet, the total balance of the various Receivership

   accounts at Chase Bank was approximately $14,000 at the time of the Receiver’s appointment,

   and no account was titled as a segregated security deposit account. Consequently, credits for

   security deposits have been given to the ultimate purchasers of each property. The Real Estate

   Professionals at Keyes also provided payment of the rent to the purchasers based on the closing

   dates of each property.

                                        b.           Mortgage and Tax Obligations

               As previously detailed in the First Interim Report, the Receiver discovered that two of the

   Properties had an outstanding mortgage at the time of her appointment. Both of the mortgaged

   properties have since been sold and closed, and the outstanding respective mortgage balances were

   paid off at closing.

               The Receiver’s investigation also showed that a number of the Receivership Entities failed

   to pay property taxes owing in 2020. 3 As a result, the collecting county sold approximately

   $70,000 in “tax certificates” for the relevant Properties in order to recoup the delinquent amounts. 4


   housing assistance income, the Receiver agreed to enter into a new one-year lease with that
   particular tenant. Where possible, the Receiver also requested an increase in the monthly rent.
   3
    As detailed in Section III.A.ii.b in the Third Interim Report, the Receiver took steps to pay the
   currently owing 2021 real property taxes on November 30, 2021, which resulted in savings of
   approximately $1,000 over the amount due had the Receiver waited until the March 31, 2022
   deadline.
   4
     A “tax certificate” is an interest-bearing first lien representing unpaid delinquent real estate
   property taxes which are sold through a public auction to the buyer offering the lowest rate of
   interest. If the tax certificate remains outstanding and unpaid for two years, the owner of the
   certificate may apply for a tax deed and ultimately seek to foreclose and even acquire the property.
                                                                                   9
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   Given that the tax certificates had been recently issued at the time of the Receiver’s appointment

   and, thus, were not immediately at risk of being converted to a tax deed, the Receiver did not take

   any action on repaying the tax certificates, anticipating that each certificate would be redeemed at

   the time the corresponding property was sold and closed. The Receiver had previously indicated

   that she would reevaluate this plan if any of the Properties remain unsold by June 1, 2022, but was

   unnecessary, as the Receiver soldall Properties before that milestone date.

                                      c.           Insurance Status and Renewals

             One of the Receiver’s immediate priorities following her appointment was to verify that

   each of the Properties was covered by property and casualty insurance. The Receiver was able to

   locate the insurance agency that had written the current policies and verify that all Properties were

   covered by property and casualty insurance. However, the Receiver’s investigation showed that

   none of the Properties carried windstorm insurance coverage despite their location in South

   Florida. As the insurance policies in place for the Properties came up for renewal, the Receiver

   solicited quotes to both renew the casualty insurance and also to implement windstorm coverage.

   The Receiver elected to finance the insurance premiums given the concurrent listing of the

   Properties, which allowed the Receiver to expend fewer funds in initially securing the policies and

   also provided greater flexibility to cancel the policies at the time of sale. As the Properties have

   been sold and closed, the Receiver has been cancelling the respective policies and requesting

   refunds of any unearned premiums.

                         iii.         Marketing and Selling Receivership Real Estate

                                      a.           Listing Properties for Sale

             As detailed in previous Reports, the Receiver selected Daniel Otten with Local Real Estate

   Co. to serve as her listing agent after interviewing several interested agents. Following his


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   engagement, Mr. Otten and his team worked diligently to visit and inspect the Properties, utilize a

   professional photographer to prepare offering materials, and develop a comprehensive pricing and

   listing strategy. Following extensive discussions and collaboration with Mr. Otten and his team,

   the Receiver authorized the listing of the Properties, which went live in September 2021. The

   Properties were listed on several listing sites as well as on the Receiver’s Assets for Sale page of

   her website. 5

                The Receiver’s sale of real estate is subject to compliance with relevant federal statutes as

   well as approval by the Court. Specifically, the Receiver must abide by 28 U.S.C. § 2001(b),

   which not only requires that any sale of real estate must be approved by the Court and supported

   by three independent appraisals, but also requires that the Receiver publish notice of the sale in a

   local newspaper for at least ten days before any sale may be confirmed and allows an interested

   third-party to submit a “bona fide offer” which guarantees at least a 10% increase over the

   proposed sale price during the ten-day period following publication of the notice. Unless otherwise

   warranted, the Receiver abides by these requirements and has sought Court approval for all sales

   of the Properties pursuant to 28 U.S.C. § 2001. The Receiver has posted copies of all sale motions

   on her website.

                                         b.           Court-Approved Sales and Closing Status

                The listings generated significant demand from prospective buyers, with all Properties

   receiving multiple (and sometimes numerous) offers. With the assistance of Mr. Otten and his

   team, the Receiver evaluated these offers and, as appropriate, accepted or made a counter-offer.

   Once the Receiver entered into a contract with a potential buyer, the Receiver sought and obtained

   Court approval. Below is a summary of all the closed sales:


   5
       See www.propertyiireceivership.com/assets-for-sale
                                                                                   11
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       Property 6                                         Sales Price                      Purchase Price                              % Increase

       3775 116th Terrace                                 $790,000.00                      $550,000.00                                 43.6%

       1361 SE 4th Street                                 $835,000.00                      $635,000.00                                 31.5%

       530 NE 34th Street                                 $410,500.00                      $345,000.00                                 19.0%

       4450 Coral Springs Drive                           $550,000.00                      $405,000.00                                 35.8%

       4020 Riverside Drive                               $775,000.00                      $468,000.00                                 65.6%

       3050 Coral Springs Drive                           $1,775,000.00                    $1,250,000.00                               42%

       201 E. 30th Street                                 $495,000.00                      $265,000.00                                 86.7%

   Pursuant to the underlying Purchase and Sale Agreement for each of the Properties, the closings

   were to occur within 30 days of the Court’s Order approving the sale. Following execution of each

   Purchase and Sale Agreement, the Receiver prepared and filed a motion seeking Court approval

   of the sale of the respective property as well as the proposed procedures to comply with 28 U.S.C.

   § 2001 and close the sale. As of the end of the Reporting Period, all the Properties had been

   approved for sale by the Court and closed. (See Docs. 32-33, 40-42, 69, and 78.)

               Following the Court’s approval of a property sale, the Receiver published notice of the

   proposed sale in the county where the respective Property was located. 7 The notice advised any

   prospective buyers of their ability to submit a bona fide offer pursuant to 28 U.S.C. § 2001 within

   ten (10) days of the publication of the notice. The Receiver did not receive any timely submitted

   bona fide offers and proceeded to work with the prospective buyers to prepare for closing.


   6
     For ease of reference, this Report will reference the specific properties using an abbreviation of
   the street number and the word “Property.” For example, reference to the property located at 3775
   NW 116th Terrace, Coral Springs, FL 33065 will be made as the “3775 Property.”
   7
     The majority of the notices were published in the Sun-Sentinel located in Broward County.
   However, for the sole property which is located in Palm Beach county, the Receiver has asked the
   Court for approval to publish the proposed sale notice in the Palm Beach Post which is the local
   newspaper in that county. Doc. 68.
                                                                                  12
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                         iv.          Analyzed Various Documentation and Worked With Retained
                                      Forensic Accountant

             The Receiver continues to review company records and third-party productions in order to

   (i) understand the Receivership Entities’ business operations and relationships prior to her

   appointment; (ii) identify any potential assets that belong to the Receivership Entities; and (iii)

   identify and analyze investor transactions. Given the Commission’s allegations of “extensive

   commingling of investor funds,” the Court approved the Receiver’s retention of Kaufman &

   Company, P.A. (“Kaufman”) to provide forensic accounting and tax services to the Receiver. The

   Receiver has asked Kaufman to prioritize the analysis of the bank accounts and assembly of an

   investor roster showing the amounts raised from and distributed to each investor. Kaufman has

   provided the Receiver with its preliminary findings on the “extensive commingling” alleged to

   have taken place within the Receivership Entities’ bank accounts. At the request of the Receiver,

   Kaufman also begin the process of completing Tax Returns for the Receivership Entities, which

   will allow for K1s to be processed by the claimants. Kaufman anticipates that returns will be ready

   for review by the Receiver in late August, 2022.

             The Receiver also continues to investigate any potential claims the Receivership Estate

   may have against any third-parties based on funds transferred to those third parties or services

   provided by those third parties.

                         v.           Initiated Claims Process as Detailed in December 31, 2021 Filing

             As detailed in previous Reports, the Receiver’s goal since her appointment was to be in a

   position to file a motion with the Court by December 31, 2021, seeking approval of the framework

   and procedures for a claims process that can return assets to investors and other interested parties

   with approved claims. Based on her team’s efforts and progress, the Receiver was able to meet

   this goal and filed her Motion to Establish and Approve (i) Proof of Claim Form and Claim Bar

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   Date; (ii) Procedure to Administer, Review, and Determine Claims; and (iii) Notice Procedures

   and Incorporated Memorandum of Law (the “Claims Motion”) on December 31, 2021. The

   Claims Motion is available on the Receiver’s website at www.propertyiireceivership.com.

               In the Claims Motion, the Receiver proposed (i) the establishment of a deadline for the

   submission of claims, (ii) approved forms for claim submissions, (iii) claims notification and

   publication procedures, and (iv)the framework by which the Receiver will calculate and administer

   the claims process. (Doc. 48.) Although the Court issued an Order on January 10, 2022, granting

   the Claims Motion, the Court subsequently vacated that Order after two responses to the Claims

   Motion were filed on January 14, 2022. The Receiver subsequently filed a Reply in support of the

   Claims Motion on January 21, 2022. Doc. 61. On April 14, 2022, the Court granted the Claims

   Motion. (Doc. 77).

               Now that the Claims Motion has been approved, the Receiver has distributed the approved

   Proof of Claim form to all potential claimants along with detailed instructions on preparing and

   submitting the completed form to the Receiver by the established submission deadline. 8 Once that

   deadline passes and the Receiver has reviewed all timely-submitted claims, she will then file one

   or more motions seeking the Court’s approval of (i) her determinations of timely submitted claims,

   and (ii) an interim (and additional as necessary) distribution to claimants with approved claims

   and the source(s) of funds used to make any distribution(s).

               On April 15, 2022, the Receiver obtained a Court Order (Doc 77) approving Receiver’s

   Motion to Establish and Approve (i) Proof of Claim Form and Claim Bar Date; (ii) Procedure to

   Administer, Review, and Determine Claims; and (iii) Notice Procedures and Incorporated



   8
    A sample claims packet is attached hereto as Exhibit A and is also posted on the Receiver’s website,
   www.propertyiireceivership.com
                                                                                  14
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   Memorandum of Law (the “Claims Motion”). After reviewing all claimant information and

   effectuating the sale of all real property in the Receivership Estate, the Receiver initiated the

   Claims Process, as outlined in the Claims Motion filed in this Court. Specifically, on June 30,

   2022, Receiver sent 158 investors claims packets, explaining the claims process, providing

   Receiver’s preliminary calculation of each investor’s claim (for investors with documentation in

   the Receivership’s possession), and requesting investors to complete a questionnaire (Claims

   Form) and provide documentation to establish their respective claims. A sample of the claims

   packet is available on the Receiver’s website at www.piireceivership.com along with the

   instruction of who to contact in the event investors have questions regarding the process. The

   preparation of the claims estimates required having Receiver’s professionals sort through extensive

   and often confusing or incomplete company documents to reconcile invested sums with any

   dividends or other payouts recorded as having been sent to investors. Receiver’s professionals also

   had to engage in open source research to verify correct mailing addresses for about a half dozen

   investors whose addresses were not accepted by the UPS website for delivery labels, which

   required sending their packages for delivery by United States Post. As required in the Order, the

   Receiver also caused notices of the claims process to be published in two newspapers – the Sun

   Sentinel of Fort Lauderdale, Florida and the Wall Street Journal.

                         vi.          Continued Outreach with Investors and Interested Parties

             The Receiver and her counsel have been in contact with a number of investors and

   interested parties since her appointment. The Court approved the Receiver’s retention of a website

   vendor to establish an informational website that would provide relevant court documents, news,

   and other updates for investors and interested parties, and that website went live in July 2021 and

   is located at www.propertyiireceivership.com. The website also allows interested parties to submit


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   their contact information to the Receiver, and the Receiver’s team has been compiling that

   information and speaking with interested parties.

             B.          Receiver’s Preliminary Findings from Her Ongoing Investigation

             The Receiver continues to locate, gather, and review company documents and other

   responsive records as part of her investigation. This has included the identification and review of

   company documents located in the storage unit, the imaging and review of documents stored in

   several computers previously used by the Receivership Entities, and obtaining documents from

   various third parties through subpoenas or other requests. This process has been complicated by

   the fact that Defendants do not appear to have maintained complete, current, and separate books

   and records for the various businesses operated by the Receivership Entities.                                                                 Indeed, the

   Receiver’s current investigation suggests that corporate formalities of those various businesses

   were routinely disregarded. The Receiver also understands that Defendants Brodman and Nicolosi

   have previously asserted their Fifth Amendment right against self-incrimination during the

   Commission’s investigation and it has been communicated through their respective counsel that

   Mr. Brodman will continue to assert those rights during the Receiver’s investigation. The Receiver

   and her team have worked tirelessly and proactively to push through these obstacles.

                         i.           The Equinox and Property Income Investors Offerings

                                      a.           The Equinox Offering

             On or around November 14, 2012, Equinox was formed by Jeffrey Rosenfeld and David

   Cohen. On or around December 11, 2012, Equinox Holdings filed a Form D Notice of Exempt

   Offering of Securities with the Commission indicating it intended to raise up to $20 million in an

   offering that was purportedly exempt from registration pursuant to Rule 506. The Receiver has

   seen several connections between Equinox and a company named Medical Connections Holdings,


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   Inc. (“MCH”), including that (i) Jeffrey Rosenfeld previously served as the CEO of MCH, (ii)

   Defendant Nicolosi at one point served as the President of MCH, and (iii) several previous

   investors in MCH subsequently invested in Equinox.

                As set forth in a Private Placement Memorandum dated January 17, 2013 (the “Equinox

   PPM”), Equinox told prospective investors it sought to capitalize from identifying and investing

   in “distressed and opportunistic real estate investments.” The Equinox PPM indicated it was

   seeking to raise up to $7 million from investors, of which up to 10% of the proceeds would be used

   to compensate licensed broker/dealers for their efforts, and the vast majority of the proceeds would

   be used for “real estate acquisition development.” The PPM described two “targeted acquisitions”

   consisting of large parcels of undeveloped land that Equinox sought to purchase and subsequently

   develop with proceeds from the offering.

                During that time period, Mr. Brodman was listed as Equinox’s Chief Operating Officer and

   Director while Theodore Grothe was listed as the Vice President, Secretary, and Director. 9 Mr.

   Rosenfeld resigned from Equinox later in 2013, 10 and Mr. Brodman is listed as the company’s

   CEO in its 2013 amended annual report. 11 As of the February 2016 annual report, Mr. Brodman

   was the only listed officer and director for Equinox.12




   9
    http://search.sunbiz.org/Inquiry/CorporationSearch/ConvertTiffToPDF?storagePath=COR%5C
   2013%5C0906%5C00195349.Tif&documentNumber=P12000094600
   10
    http://search.sunbiz.org/Inquiry/CorporationSearch/ConvertTiffToPDF?storagePath=COR%5C
   2013%5C1115%5C53565093.Tif&documentNumber=P12000094600
   11
    http://search.sunbiz.org/Inquiry/CorporationSearch/GetDocument?aggregateId=domp-
   p12000094600-0a7d4e41-25ed-485b-a8ff-a26d32f50db3&transactionId=p12000094600-
   464d4b95-cc3d-49f7-82a3-b7b539b9ab37&formatType=PDF
   12
    http://search.sunbiz.org/Inquiry/CorporationSearch/GetDocument?aggregateId=domp-
   p12000094600-0a7d4e41-25ed-485b-a8ff-a26d32f50db3&transactionId=p12000094600-
   494ca438-0bf0-4b90-96a2-5f9d7fba3024&formatType=PDF
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                The Receiver has obtained bank records for three bank accounts maintained by Equinox

   dating back to June 2013. Based on the Receiver’s preliminary investigation, it appears that

   Equinox raised approximately $3 million from at least 35 investors as early as November 18, 2012,

   and that Equinox continued to raise funds from investors as recently as August 2020. A significant

   portion of these funds were raised prior to late 2016 when the Property Income Investors offerings

   began. Although Equinox does appear to have used some investor funds to purchase real estate

   during 2012 – 2015, it appears that a significant portion of the $3 million was not used for the

   purchase of real estate. Indeed, the Receiver has only been able to identify three real estate

   transactions in Broward and Palm Beach Counties involving Equinox during the time period from

   December 2012 to February 2015, none of which involved Equinox paying a purchase price higher

   than $108,000. Moreover, although Equinox has not owned any real estate since February 2015,

   it appears that nearly $2 million was raised from Equinox investors from that time to the Receiver’s

   appointment. This investigation remains ongoing.

                                         b.           The Property Income Investors Offerings

                In March 2016, Brodman formed PII. Brodman subsequently formed at least 10 entities

   between December 2016 and June 2019 that each contained “Property Income Investors” in the

   name followed by a specific number (which in most cases appears to have been a reference to the

   street number of a specific property). 13 These entities were formed for the purpose of purchasing

   specific real estate parcels, and in most cases each entity opened a separate bank account at JP

   Morgan Chase.




   13
     For example, PII 26 was formed in December 2016 and listed Mr. Brodman as the manager. In
   or around December 28, 2016, PII 26 paid $495,000 to purchase a seven-unit multifamily
   residential property located at 26 Wisconsin St., Lake Worth, FL 33461.
                                                                                   18
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                No later than 2016, the Receiver understands that prospective investors were targeted to

   invest in PII (or related entities) through “cold calls” made by Brodman, Nicolosi, and apparently

   other sales agents working at Nicolosi’s direction. From speaking with investors, the Receiver has

   been told that the “cold calls” touted specific property(ies) that had been or would be purchased

   and promised annual returns ranging from 5% to 10% (with some investors being promised even

   higher returns). Specifically, investors were told that they would receive returns derived from the

   Receivership Entities’ renovation and ownership of multi-family properties consisting of (i) 70%

   of the net rental profits (with Brodman receiving the remaining 30%), and (ii) 50% of the profits

   when the property was sold (with Brodman receiving the remaining 50%). Investors were assured

   that there was minimal risk and little to no downside associated with the investments.

                The Receiver has identified private placement memoranda that were prepared by several

   of the Receivership Entities, including a September 2016 private placement memorandum

   prepared for PII (the “PII PPM”). 14 The PII PPM indicated to prospective investors, among other

   things, that:

                •     PII would “use the net proceeds from this offering to acquire property and for general
                      working capital purposes”;

                •     Cash commissions of up to 10% of the raised proceeds would be paid to any “licensed
                      broker/dealers” assisting in the offering;

                •     Officers (i.e., Defendant Brodman) “will not receive a salary or management fee,” but
                      rather would be entitled to 30% of the Company’s net income (or loss) from operations
                      as well as 50% of the Company’s gains (or losses) from the sale of any property.

                •     Investors holding Class B membership interests would be entitled to their pro rata share
                      of 30% of the Company’s net income (or loss) from operations as well as 50% of the
                      Company’s gains (or losses) from the sale of any property.



   14
      As discussed below in Section V.B., it does not appear that the PII PPM was provided to a
   significant number of investors.
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             •     “Investors should not purchase our Class B membership interests if they need or expect
                   to receive quarterly distributions.”

             •     “We will use debt financing to acquire most of our properties. Lenders will place
                   mortgages on these properties.”

             • “We expect to incur operating losses in future periods because we expect to incur
                   expenses which will exceed revenues for an unknown period of time.”

             The “Use of Proceeds” section further specified that, assuming $4 million was raised

   during the offering, $3.6 million would be used to make real estate acquisitions and the remaining

   $400,000 would be used for working capital. The section further indicated that PII “reserve[s] the

   right to modify the use of proceeds as we deem fit at our sole discretion.” The Commission has

   alleged that although the Receivership Entities raised at least $9 million from investors, at least

   $2.44 million was misappropriated by PII and Brodman. Doc. 1 ⁋⁋ 60-61. These allegations are

   consistent with the Receiver’s preliminary review of the documents and financial statements in her

   possession.

                         ii.          At Least Some Receivership Entities Did Not Generate Sufficient Cash
                                      Flow to Cover Distributions to Investors and Depended on “Loans”
                                      From Other Receivership Entities to Meet any Shortfalls

             Prospective investors in the PII entities were told that they would receive quarterly

   distributions generated by the rental income received from the property owned by the entity they

   invested with. Although it appears that many investors simply received identical quarterly

   distributions that equated to an annual return ranging from 6% to 7%, the investment documents

   signed by each investor specified that any distributions paid to investors would be made from a

   percentage of the “Net Cash From Operations” with the remainder going to Mr. Brodman.

   However, it appears that at least several of the Receivership Entities did not generate sufficient

   cash flow from operations to pay the quarterly distributions made to investors, and those entities



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   instead depended on transfers (or “loans” which do not appear to have ever been repaid) from other

   Receivership Entities to pay the distributions.

                For example, prospective investors interested in investing with PII 1361 were required to

   execute an Operating Agreement as a Class B Member. 15 In relevant part, Section 4.1(c) of that

   Operating Agreement provided that Class B Members would be entitled to receive periodic

   distributions in the amount of “70% of the Net Cash From Operations.” The Operating Agreement

   defined Net Cash From Operations as:




   Thus, the amount that should have been paid to a Class B Member would have been calculated by

   subtracting Company expenses, capital improvements, and other reserves from the income

   received during the company’s operations which typically solely consisted of tenant rental income.

   During 2019, according to a Profit and Loss Statement generated by the Quickbooks software

   maintained by the Receivership Entities, PII 1361 generated $43,395.00 in rental income.

   However, PII 1361 also incurred $38,685.90 in expenses from operations, including $10,444.50

   in property taxes, $3,534.31 in insurance expense, and $16,261.34 in repairs and maintenance.

   This resulted in PII 1361 generating net income of $4,709.10 during 2019. Pursuant to the

   Operating Agreement, investors (Class B Members) would have been entitled to 70% of this Net




   15
        Mr. Brodman is believed to be the sole Class A Member of all PII entities.
                                                                                   21
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   Cash From Operations which should have resulted in total annual distributions to Class B Members

   of $3,296.37.

             However, a review of PII 1361’s bank statements show that a total of $42,484.00 in

   distribution checks were made during 2019 to investors. Standing alone, this represented a nearly

   100% distribution of all gross rental income received from tenants and was approximately 1,000%

   higher than the net cash from operations purportedly generated by PII 1361 during 2019.

   Additionally, the bank statements also suggest that PII 1361 may have significantly understated

   its repair and maintenance expenses based on $49,120.00 in apparently-unreported payments that

   appear to be for the renovation of one of the units – approximately $30,000 higher than the

   $16,261.34 in repairs and maintenance reported in PII 1361’s 2019 Profit and Loss Statement. In

   order to meet its ongoing expenses, including quarterly distributions paid to investors and other

   obligations including renovation expenses, PII 1361’s bank account statements reflect over

   $100,000.00 in incoming transfers from nine different PII entities. In addition, the statements also

   reflect that $24,230.00 was transferred from PII 1361 to four different PII entities during that time

   period.

             A similar pattern was seen in an analysis of financial and bank statements for PII 3504,

   which owned a property located at 3775 NW 116th Terrace, Coral Springs, FL 33065. Although

   PII 3504 received $58,530 in rental income during 2019, the Profit and Loss Statement generated

   by the QuickBooks software maintained by the Receivership Entities reflected $34,358.98 in

   expenses which resulted in net income of $24,370.13. However, during 2019, PII 3504 paid out

   nearly $28,000 in quarterly distributions to investors – more than the purported net income. In

   addition, the P&L did not reflect (nor were investors informed) that PII 3504 had taken out a

   mortgage on the 3775 Property and that it made a total of $22,040.87 in monthly mortgage

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   payments during the majority of the year – in addition to the $34,358.98 in expenses reflected on

   the Profit and Loss Statement. 16

                The $58,530 in rental income received by PII 3504 during 2019 was not sufficient to pay

   the combined $84,382 in expenses, investor distributions, and mortgage payments. In order to

   cover this shortfall, PII 3504’s bank account statements reflect over $50,000.00 in transfers from

   at least nine different PII entities. In addition, the statements also reflect that $127,770 – which

   included the mortgage proceeds deposited in PII 3504’s bank account in October 2019 – was

   transferred from PII 3504 to at least six different PII entities during that time period.

                In sum, PII 1361 generated $43,395.00 in rental income during 2019, but during the same

   period it made total payments of over $100,000 for property expenses and investors distributions.

   Similarly, the $58,530 in rental income received by PII 3504 was not sufficient to cover the total

   payments of the combined $84,382 in expenses, investor distributions, and mortgage payments.

   Because the rental income generated by PII 1361 and PII 3504 during 2019 was not sufficient to

   cover the corresponding entity’s expenses during that same time period, each entity thus

   necessarily depended on the deposit of funds from other entities (consisting of investments by

   other investors) to meet these shortfalls. The Receiver is continuing her investigation to determine

   if similar shortfalls were present in other PII entities.

                            iii.         Nearly $2 Million Was Paid To Company Insiders Including Brodman

                A significant percentage of funds raised from investors were paid to company insiders –

   including Brodman.                      According to payroll records from ADP, Brodman received at least


   16
     The existing mortgage was satisfied in October 2019 when PII 3504 took out a new mortgage
   which resulted in the deposit of $106,443.62 in PII 3504’s bank account. Following deposit of the
   $106,443.62 mortgage proceeds, PII 3504 made a total of $107,200.00 in transfers to other PII
   entities – including the vast majority to the Property Income Investors Holdings account controlled
   by Brodman.
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   $1,206,302 in Form 1099 compensation from 2014 to 2020 (excluding compensation paid during

   2019, which was not included in the provided records). The Receiver has also seen evidence that

   Brodman made significant withdrawals from various bank accounts belonging to the Receivership

   Entities in the past year. The Companies’ primary administrative employee, Cindy Lieberman,

   also received nearly $500,000 in salary during the same period – including a salary of $93,900 in

   2019 and $107,000 in 2020.

             From 2019 to 2021, it appears that nearly $500,000 was transferred from various company

   bank accounts to a bank account owned by LBB Maintenance & Repair, LLC (“LBB”), a company

   owned by Brodman. Despite the name of the company suggesting it was in the business of

   maintenance and repair, it appears that LBB’s primary purpose was to transfer funds from the PII

   Entities to Mr. Brodman or for his benefit. A significant portion of funds transferred to LBB were

   then sent to Brodman’s personal account where they were then used for Brodman’s personal

   benefit including the payment of a mortgage, monthly lease payments for a Maserati, and other

   expenses.

             These regular and recurring distributions to Brodman are contrary to representations in the

   PII PPM that “Mr. Brodman will not receive any compensation or management fee while

   overseeing the Company’s operations,” and several investors have also indicated that they were

   told this by Mr. Brodman or other sales agents. A subsequent section of the PII PPM confirmed

   that “[o]ur officers will not receive a salary or management fees.” Rather, Mr. Brodman “would

   be allocated Class A Membership interests which would entitle him to 30% of the Company’s net

   income (or loss) from operations and 50% of the Company’s gains (losses) from the sale of any

   property.”




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                The Commission has alleged that approximately $1.04 million was generated in gross rent

   payments during the Relevant Period (spanning over seven years), which would have entitled

   Brodman to at most approximately $312,000 as his share of rental payments during that span. This

   of course does not account for any other expenses incurred during the Companies’ operations,

   which would serve to correspondingly reduce the amount owed to Brodman (and investors). As

   for the proceeds of property sales, the Commission has alleged (and the Receiver has not seen any

   contrary information) that no property sale proceeds were distributed to investors during the

   Relevant Period. Instead, it appears that many investors were encouraged to “roll over” their

   profits from a property sale into another PII entity. Accordingly, based on the representations to

   investors, Brodman would have been entitled at most to $312,000 (and likely less, after expenses)

   during the seven-year Relevant Period – an amount that is dwarfed by the $500,000 in transfers

   that was transferred to LBB alone from 2019 to 2021.

                            iv.          The Use of Sales Agents to Solicit Investors and Payment of
                                         Transaction-Based Compensation

                As referenced above, the Receiver has seen evidence that the Receivership Entities relied

   on sales agents to solicit prospective investors in the various Receivership Entities. These sales

   agents include Defendant Brodman, an individual who appears to be Mr. Brodman’s relative,

   Defendant Nicolosi, and several other individuals that were apparently affiliated with Nicolosi’s

   company, CMP. In a previous filing with the Commission, CMP was described as “a brokerage

   firm” and listed Nicolosi as its CEO. 17 Of note, at least one of the sales agents affiliated with CMP

   appear to have used fictitious names when communicating with prospective investors. It appears




   17
        See https://www.sec.gov/Archives/edgar/data/1140303/000135448811001230/mcth_10ka.htm
                                                                                   25
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   that these sales agents primarily contacted prospective investors through the use of “cold calls”

   based on lead lists purchased from third parties.

                The Receiver has not seen any evidence that any sales agents held the requisite licenses to

   sell securities. The Receiver has learned that Defendant Nicolosi (when he was known as Anthony

   Peluso) was barred from the securities industry in June 2001 for engaging in high-pressure sales

   tactics and making misrepresentations to customers. In June 2003, Mr. Peluso changed his name

   from Anthony Joseph Peluso to Anthony Joseph Nicolosi. In 2010, Mr. Nicolosi was the subject

   of a cease and desist order from the Alabama Securities Commission based on his role in soliciting

   investors in a different company and his misrepresentations and omissions concerning his previous

   industry bar and name change. 18

                After making these “cold calls,” those agents – either themselves or through an

   administrative employee at PII – sent correspondence (typically by email) to those prospective

   investors containing information on the proposed investment.                                                       This correspondence usually

   consisted of a short description and potential returns of the specific property investment, an

   attachment containing pictures and projections for the property, and a “Subscription Booklet”

   containing instructions to complete an investment. Of note, while the “Subscription Booklet”

   instructed interested investors to complete the attached Subscription Agreement and Operating

   Agreement, the vast majority of the Subscription Booklets distributed to prospective investors

   appear to only include the Subscription Agreement (and did not include the Operating Agreement).

   Further, although the Subscription Agreement provides that the “offer and sale of securities is

   being made in connection with the private placement memorandum,” it appears the “Subscription

   Booklet” often did not contain a copy of the PII PPM. The Receiver has only seen that a very


   18
        See https://asc.alabama.gov/Orders/2010/CD-2010-0062.PDF
                                                                                   26
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   limited amount of prospective investors received the PII PPM (and typically only when requested

   by a diligent prospective investor).

             Some emails were sent directly by the sales agents, including the below email sent by

   Defendant Nicolosi:




   In some instances, the agents advertised the ability for prospective investors to use their retirement

   funds for the investment.

             The Receiver has seen information supporting the Commission’s allegations that a

   significant amount of investor funds were used to pay commissions to these sales agents. For

   example, Nicolosi’s company, CMP, received at least $888,170 in payments from the Receivership

   Entities during the Relevant Period. The Receiver has also seen additional payments to other sales
                                                                                27
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   agents made through other bank accounts. The Receiver believes that most, if not all, of these

   payments were provided as compensation for the solicitation of investors to the Receivership

   Entities. Although Defendant Nicolosi has taken the position that at least a portion of his

   compensation was purportedly attributable to other non-solicitation activities, the Receiver

   understands that other individuals affiliated with CMP (including those who used fictitious names

   with prospective investors) had no duties other than soliciting investors.

                         v.           Investor Funds Appear to Have Been Routinely Commingled and Used
                                      for Unauthorized Purposes for Several Years

             A preliminary analysis conducted by the Receiver’s forensic accountants indicates that

   approximately $9 million was raised from at least 150 investors during the relevant time period.

   The Receiver has seen significant evidence that investor funds were routinely commingled

   between the Receivership Entities’ bank accounts for no apparent legitimate or business purpose;

   rather, it appears that corporate formalities were frequently disregarded and that a Receivership

   Entity facing a shortfall in currently-available funds would regularly use funds from other

   Receivership Entities as needed. The Receiver has asked her forensic accountants whether it

   would be feasible to essentially “unwind” these various transactions and to attempt to treat each

   entity separately. Although that inquiry remains ongoing, the Receiver has been informed that it

   would be significantly time-intensive (and costly) to attempt to reconcile material differences

   between the reported intercompany obligations owed among the companies, and that even after

   completing such a task it would still be uncertain whether the entities would be able to be treated

   as independent companies.

             The Receiver has also seen a troubling pattern of investor funds being routinely misused

   or misappropriated as early as 2018 (and perhaps earlier). For example, investor J.R. made an

   investment of $501,000 with Equinox Holdings in January 2018, of which $487,000 was deposited
                                                                                28
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   into Equinox’s bank account ending in x7387 (the “Equinox Account”) on January 23, 2018 and

   the remaining $13,000 was deposited into the same account on January 30, 2018. Prior to the

   initial deposit on January 23, 2018, the balance of the Equinox Account was less than $1,000.

   From January 23, 2018 to March 7, 2018, less than $500 in other deposits were made to the

   account. During that period, the following activity took place in the Equinox Account:

             •     $101,200 in checks were written to Capital Market Partners, Defendant Nicolosi’s
                   company;

             •     $112,000 in checks were written to Defendant Brodman;

             •     $82,000 was transferred to a different Equinox Holdings bank account which was used
                   to make payments of $77,162.50 to four investors;

             •     Various purchases that did not appear to be business expenses, including transactions
                   at Best Buy, NYY Steakhouse, Dolphin Stadium, and Boston’s on the Beach; and

             •     At least $10,500 in withdrawals.

   Of the $112,000 in checks that were written to Brodman, one check for $76,000 dated March 1,

   2018 was deposited into his personal account with the notation “Loan” in the memo:




   The proceeds from this “loan” were apparently used (i) to make payments of approximately

   $70,000 to the U.S. Treasury/IRS, (ii) to make a $6,719.15 purchase at “Teacups Puppies and

   Boutiques,” and (iii) a $3,000 payment on Brodman’s home mortgage. The Receiver has not seen

                                                                                29
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   any indication this “loan” was repaid or any documentation one would expect in an arm’s length

   transaction.

                In another example, PII 26 purchased a property located at 417 N. E St., Lake Worth, FL

   in May 2018. After that sale had closed, several additional investor deposits totaling $175,000

   were deposited into PII 26’s bank account (the “PII 26 Account”) in June 2018. 19 The PII 26

   Account had a beginning balance in June 2018 of $1,958.50. During the following month, over

   $150,000 was transferred from the PII 26 Account to PII’s bank account (the “PII Account”). Prior

   to these deposits, the PII Account had a beginning balance in June 2018 of less than $1,000.

   Following receipt of these transfers from the PII 26 Account, the PII Account made the following

   transfers:

                •     $102,436.82 to the Equinox Account;

                •     $12,272 to an account belonging to PII 9007;

                •     $14,000 to an account belonging to PII 201;

                •     $18,500 to an account belonging to PII 304; and

                •     $6,000 to an account belonging to PII 3504.

   The $102,436.82 transferred to the Equinox Account (which had a beginning monthly balance of

   $2,637.18 prior to the transfers) was used to make the following transactions:

                •     A purchase of $795.00 at the “Palm Beach Equine Clinic” and a purchase of $1,036.23
                      at Dolphins Stadium.

                •     Nearly $50,000 in checks to Capital Market Partners, Defendant Nicolosi’s company;

                •     Over $30,000 in checks to Mr. Brodman; and

                •     $1,036.23 to “Jetblue Vacations.”


   19
     Indeed, at least one wire transfer in the amount of $50,000 specifically includes the address for
   the 417 Property in the wire details.
                                                                                   30
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   In short, it appears that very little – if any – of the investor deposits in the PII 26 account during

   the June 2018 timeframe were used for any purpose relating to the 417 Property.

                In early August 2020, at the same time that the Commission issued a subpoena to Defendant

   Brodman and the Receivership Entities, Brodman apparently reached out to investor J.R. – the

   same investor that had made the $501,000 investment referenced above – about an “opportunity

   that had come up” that required additional funds to close on a property.                                                                 Based on those

   representations, J.R. agreed to make an additional $400,000 investment (consisting of retirement

   funds) that were deposited into the Equinox Account on August 5, 2020. 20 Prior to that $400,000

   deposit, the Equinox Account had a balance of $2,756.65. The same day that the $400,000 was

   deposited, the Equinox Account made the following transfers:

                •     $99,000 to an account belonging to PII;

                •     $22,000 to an account belonging to PII 26;

                •     $52,000 to an account belonging to PII 304;

                •     $16,000 to an account belonging to PII 9007;

                •     $13,000 to an account belonging to PII 4450; and

                •     $27,500 to an account belonging to Property Income Investors Holdings, LLC.

   Of note, J.R. was not an investor in any of these PII entities.

                Despite Brodman’s representations to investor J.R. that the $400,000 investment would be

   used to purchase a property, the bank statements show that none of the funds were used to

   purchase any real estate.                            Instead, at that time, the Receiver understands that quarterly

   distributions to investors for the first quarter of 2020 were several months overdue and that



   20
     Based on the Receiver’s review of records, it appears this deposit was made the day after a credit
   card for the Receivership Entities was used for a $3,000 charge to Mr. Brodman’s attorney.
                                                                                   31
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   distributions for the second quarter of 2020 were currently due. Records reviewed by the Receiver

   indicate that at least $125,000 traceable to the $400,000 deposit were used to pay overdue quarterly

   distribution checks to investors. In other words, money from new investors was used to pay

   purported distributions to existing investors that was represented to be income from

   operations. Brodman also diverted (i) at least $46,000 traceable to the $400,000 deposit to the

   LBB Account which he controlled; (ii) $15,000 to make payments towards an overdue company

   credit card; and (iii) at least $30,000 to other Receivership Entities. The Receiver is continuing to

   investigate these circumstances.

                         vi.          Over $50,000 of Investor Funds Were Lost When Brodman Forfeited a
                                      Real Estate Purchase Deposit

             The Receiver discovered that, in January 2021 and February 2021 (several months after

   the Commission issued a subpoena to Defendant Brodman and the Receivership Entities), the PII

   26 Account wired a total of $55,000 to a law firm that Brodman had frequently used to handle real

   estate transactions on behalf of the Receivership Entities. Further investigation showed that these

   transfers were a deposit for the purchase of a single-family residential property containing a horse

   barn and stalls located in Parkland, Florida. It appears that Brodman intended for this property to

   be purchased by PII 26 using a loan that would be collateralized both by the property being

   purchased and the 3050 Property that had recently been purchased in August 2019 by PII 304.

   The 3050 Property had been purchased free-and-clear (by a separate Receivership Entity with

   different investors), and this cross-collateralization would have significantly encumbered the

   property and thus diminished the value of any PII 304 investments. In addition, the purchase of a

   single-family residential property (with a horse barn and stables) is inconsistent with the

   representations to investors that PII would use their funds to purchase residential multi-family

   properties for renovation, leasing, and resale.
                                                                                32
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             The day before the transaction was scheduled to close, Brodman informed his realtor that

   he would not be able to close the transaction. As a result, the $55,000 in investor funds that were

   being held as a deposit were forfeited to the seller and thus lost. There is no indication these losses

   were disclosed to investors.

   IV.       THE NEXT QUARTER

             A.          Investigation

             Based on the Receiver’s preliminary investigation, it appears that the Properties (together

   with the $1.15 million in sale proceeds that were being held in trust at the time of the Receiver’s

   appointment) represent the largest (and likely only) assets of material value that are attributable to

   investor funds. With the assistance of her retained professionals, the Receiver will continue to

   interview third parties and gather and review relevant documents from the Receivership Entities

   and third parties. It will be necessary to obtain and review all such documents in order to complete

   an understanding of the operation of the various Receivership Entities, the flow of funds through

   and for the benefit of those Receivership Entities, to identify any additional sources of recovery,

   and to prepare an accounting. The Receiver continues to work diligently on this task, but without

   knowing the volume of documents she expects to receive, it is difficult to estimate the time needed

   for completion.

             The Receiver’s investigation will also focus on identifying relevant documentation to allow

   her forensic accountants to complete an analysis of all investor transactions, a necessary task to

   assess and administer a Court-approved claims process. In the course of reviewing, analyzing, and

   compiling this information, the Receiver may also request that certain investors provide copies of

   relevant documentation evidencing their relationship with the Receivership Entities.




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             The Receiver will continue to attempt to locate additional funds and other assets and may

   institute proceedings to recover assets on behalf of the Receivership Entities. In an effort to more

   fully understand the conduct at issue and in an attempt to locate more assets, the Receiver will

   continue to conduct interviews and/or depositions of parties and third parties who may have

   knowledge of the fraudulent scheme.

             B.          Administering Claims Process, Determining Submitted Claims via Proof of
                         Claim Forms with attached Documents, and Seeking Court Approval of Claim
                         Determinations and Distribution Plan

             On December 31, 2021, the Receiver filed her Claims Motion with the Court, which, in

   relevant part, sought approval of the framework and procedures for a claims process through which

   recovered funds could eventually be distributed to claimants with approved claims. On April 15,

   2022, the Court approved the Claims Motion and the Receiver moved forward with mailing the

   approved Proof of Claim form to known potential claimants along with detailed instructions on

   preparing and submitting the completed form to the Receiver by the established submission

   deadline. The Claims Bar Deadline is September 28, 2022. Once that deadline passes and the

   Receiver has reviewed all timely-submitted claims, she will then file a one or more motions

   seeking the Court’s approval of (i) her determinations of timely submitted claims, and (ii) an

   interim (and additional as necessary) distribution to claimants with approved claims and the

   source(s) of funds used to make any distribution(s). The Receiver and her staff will effectuate

   communications with all claimants regarding the Claims Process as Proof of Claims Forms are

   sent in. The Receiver has updated her informational website at www.propertyiireceivership.com

   to provide the latest guidance for prospective claimants and the Claims Process.




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             C.          Third Party Claims

             The Receiver continues to analyze the existence and viability of potential claims against

   third parties that may have received payments or transfers to which they were not entitled to receive

   or persons or entities that provided services to or otherwise improperly benefitted from their

   affiliation with the Receivership Entities. It is too early to estimate whether or not the Receiver

   will bring any such claims or whether any claims will result in any recovery to the Receivership

   Estate. In proceeding with these determinations, the Receiver intends to consider a number of

   factors, including the cost-benefit analysis of bringing any potential claim. Thus, the Receiver is

   not yet able to predict the likelihood, amount, or effectiveness of any particular claim or the claims

   as a whole. The Receiver may, however, plan to first offer those who are required to return money

   to the Receivership Estate the opportunity to do so cooperatively in an effort to avoid costly

   litigation for all involved. The Receiver intends to seek Court approval before instituting any such

   third-party actions.


             Date: August 1, 2022                                           Respectfully submitted,

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                                                                               Raquel A. Rodriguez, Esq.
                                                                               Florida Bar No. 511439

                                                                            and




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                                                                                  Lauren V. Humphries, Esq.
                                                                                  Florida Bar No. 117517
                                                                                  lauren.humphries@bipc.com
                                                                             Attorneys for Receiver, Miranda L. Soto


                                                       CERTIFICATE OF SERVICE

              I hereby certify that on August 1, 2022, I electronically filed the foregoing with the Clerk

   of the Court by using the CM/ECF system which will send a Notice of Electronic Filing to the

   following counsel of record:

              Alice Sum, Esq.                                                                          Mark C. Perry, Esq.
              Securities and Exchange Commission                                                       2400 East Commercial Blvd., Ste 201
              801 Brickell Avenue, Suite 1950                                                          Fort Lauderdale, Florida 33308
              Miami, Florida 33131                                                                     Counsel for Defendant, Anthony
              Counsel for Plaintiff, Securities and                                                    Nicolosi, f/k/a Anthony Peluso
              Exchange Commission

   I further certify that on August 1, 2022, a true and correct copy of the foregoing was sent via electronic
   mail to the following:

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              Schoeppl Law, P.A.
              4651 North Federal Highway
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              Counsel for Defendant Larry Brodman

              Larry Brodman
              E-mail: larrybro58@gmail.com

                                                                             /s/ Raquel A. Rodriguez
                                                                             BUCHANAN INGERSOLL & ROONEY PC

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